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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                               Chapter 11
In re:                                                         Case No. 13-74303 (AST)
                                                                         13-74304 (AST)
PERSONAL COMMUNICATIONS
DEVICES, LLC, et al.,                                          (Jointly Administered)
                                      Debtors.


DEVICES LIQUIDATION TRUST,                                     Adv. Pro. No. 15-08112 (AST)

                                        Plaintiff,

v.

M SEVEN SYSTEM LIMITED,
                      Defendant.

       ORDER GRANTING DEVICES LIQUIDATION TRUST’S MOTION PURSUANT
        TO BANKRUPTCY CODE SECTION 105 AND RULE 9019 OF THE FEDERAL
          RULES OF BANKRUPTCY PROCEDURE FOR ENTRY OF AN ORDER
          AUTHORIZING AND APPROVING THE SETTLEMENT AGREEMENT

           Upon consideration of the motion (the “Motion”)1 of Devices Liquidation Trust (the

“Trust”), as successor in interest of the estates of Personal Communications Devices, LLC and

Personal Communications Devices holdings, LLC, the liquidated debtors in the above captioned

cases (the “Debtors”), for an order, pursuant to section 105(a) of title 11 of the United States

Code (the “Bankruptcy Code”) and Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) authorizing and approving the settlement (the “Agreement”) attached as

Exhibit 1 hereto; and due and sufficient notice of the Motion having been given under the

particular circumstances; and it appearing that no other or further notice need be provided; and it

appearing that the relief requested by the Motion is in the best interests of the Trust, the Debtors’



1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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estate, its creditors, its stakeholders, and other parties in interest; and after due deliberation

thereon, and sufficient cause appearing therefor, it is hereby

               ORDERED, ADJUDGED AND DECREED that:

               1.      The Motion is GRANTED as set forth herein.

               2.      The Agreement attached as Exhibit 1 hereto is hereby approved.

               3.      This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation or interpretation of this Order.




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 Dated: June 22, 2020                                                     Alan S. Trust
        Central Islip, New York                                  United States Bankruptcy Judge
